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                                UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION
                                                 1:18-cv-01566-WMR
                                      Pizarro et al v. The Home Depot, Inc. et al
                                            Honorable William M. Ray, II

                                Minute Sheet for proceedings held In Open Court on 02/24/2022.


             TIME COURT COMMENCED: 9:30 A.M.
             TIME COURT CONCLUDED: 3:00 P.M.                   COURT REPORTER: Wynette Blathers
             TIME IN COURT: 4:30                               DEPUTY CLERK: Jennifer Lee
             OFFICE LOCATION: Atlanta

         ATTORNEY(S)          William Brockman representing The Chamber of Commerce of the United States of
         PRESENT:             America
                              Danielle Chattin representing The Administrative Committee of the Home Depot
                              Futurebuilder 401(K) Plan
                              Danielle Chattin representing The Home Depot, Inc.
                              Danielle Chattin representing The Investment Committee of the Home Depot
                              Futurebuilder 401(K) Plan
                              Charles Field representing Craig Smith
                              Charles Field representing Garth Taylor
                              Charles Field representing Glenda Stone
                              Charles Field representing Jaime H. Pizarro
                              Charles Field representing Jerry Murphy
                              Charles Field representing Marie Silver
                              Charles Field representing Rachelle North
                              Charles Field representing Randall Ideishi
                              Sean Ouellette representing Craig Smith
                              Sean Ouellette representing Garth Taylor
                              Sean Ouellette representing Glenda Stone
                              Sean Ouellette representing Jaime H. Pizarro
                              Sean Ouellette representing Jerry Murphy
                              Sean Ouellette representing Marie Silver
                              Sean Ouellette representing Rachelle North
                              Sean Ouellette representing Randall Ideishi
                              Deanna Rice representing The Chamber of Commerce of the United States of
                              America
                              Darren Shuler representing The Administrative Committee of the Home Depot
                              Futurebuilder 401(K) Plan
                              Darren Shuler representing The Home Depot, Inc.
                              Darren Shuler representing The Investment Committee of the Home Depot
                              Futurebuilder 401(K) Plan
                              Leigh St. Charles representing Craig Smith
                              Leigh St. Charles representing Garth Taylor


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                             Leigh St. Charles representing Glenda Stone
                             Leigh St. Charles representing Jaime H. Pizarro
                             Leigh St. Charles representing Jerry Murphy
                             Leigh St. Charles representing Marie Silver
                             Leigh St. Charles representing Rachelle North
                             Leigh St. Charles representing Randall Ideishi
                             David Tetrick representing The Administrative Committee of the Home Depot
                             Futurebuilder 401(K) Plan
                             David Tetrick representing The Home Depot, Inc.
                             David Tetrick representing The Investment Committee of the Home Depot
                             Futurebuilder 401(K) Plan
                             David Tracey representing Craig Smith
                             David Tracey representing Garth Taylor
                             David Tracey representing Glenda Stone
                             David Tracey representing Jaime H. Pizarro
                             David Tracey representing Jerry Murphy
                             David Tracey representing Marie Silver
                             David Tracey representing Rachelle North
                             David Tracey representing Randall Ideishi
                             Meaghan VerGow representing The Chamber of Commerce of the United States of
                             America
         OTHER(S) PRESENT:   Rosie Manins, Madison Sanchez, Cindy Ruback
         PROCEEDING
                             Motion Hearing(Other Evidentiary Hearing-Contested);
         CATEGORY:
         MINUTE TEXT:        The Court ordered parties to provide a report resolving the motions for leave to file
                             under seal by March 3, 2022, or it will defer the motions to a special master, at the
                             cost of the parties, and schedule a hearing. The Court heard oral argument on the
                             motions for summary judgment and will issue a ruling after further review. The
                             Court recommends parties conduct mediation and stated it is willing to delay its
                             ruling until after mediation, if parties choose to do so. The Court heard oral argument
                             on the motions to exclude and will deny the motion to exclude Dr. Laffer.
         HEARING STATUS:     Hearing Concluded




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